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                       UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                             EASTERN DIVISION

ALEXANDRIA H. QUINN,                        )
                                            )
       Plaintiff,                           )
                                            )
v.                                          )      CASE NO.: 3:14-CV-1033-ALB
                                            )
CITY OF TUSKEGEE,                           )
ALABAMA, et al.,                            )
                                            )
       Defendants.                          )


                          ORDER ON PRETRIAL HEARING

       A pretrial conference was held in this case on April 9, 2020, wherein the following

actions were taken:

1.     TRIAL SETTING

       This case is set for trial at 10:00 AM on June 1, 2020 at the United States Courthouse

       in Opelika, Alabama.

2.     COUNSEL APPEARING AT PRETRIAL HEARING

       The following counsel appeared at the pretrial conference:

       Algert Agricola, Jr. and Barbara Agricola for Plaintiff.

       Milton Davis and Rick Howard for Defendant, City of Tuskegee, Alabama.

3.     TRIAL BRIEFS

       The parties are not required to file trial briefs, but if they wish to do so, their trial

briefs shall be filed no later than 7 days before trial.



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4.     EXHIBITS AT TRIAL

       The parties shall bring a flash drive with electronic copies of their exhibits for the

court’s use at trial. Each exhibit shall be numbered in a way that corresponds to the number

on the party’s exhibit list. The parties may share a flash drive or bring separate flash drives.

5.     MOTIONS IN LIMINE

       The parties shall file any motions in limine, fully briefed, together with citations of

law thereon, on or before 28 days before trial. Objections to motions in limine, fully

briefed, must be filed on or before 21 days before trial.

6.     VOIRE DIRE, JURY INSTRUCTIONS, AND ANY SPECIAL VERDICT FORM

       By 7 days before trial, the parties shall file any questions they want the court to

ask of the jury venire. Trial counsel are directed to review the jury questionnaire used in

this court and to avoid any duplication of matters addressed therein in their voir dire

questions.

       By 7 days before trial, the parties shall file a single, joint proposed jury charge,

including all necessary instructions, or definitions applicable to the specific issues of the

case. The parties may submit, but need not submit, standard generic instructions regarding

routine matters; e.g., burden of proof, credibility of witnesses, duty of jurors, etc.

              a.   In joint, proposed jury materials, counsel are to include all necessary

       instructions or definitions, specifically including (1) the prima facie elements of

       each cause of action and defense asserted; (2) legal definitions required by the jury;

       (3) items of damages; and (4) methods of calculation of damages. Counsel are to

       use the 11th Circuit Pattern Jury Instructions, or appropriate state pattern jury

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 instructions, as modified by case law or statutory amendments, wherever possible.

 Any deviations must be identified and accompanied with legal authorities for the

 proposed deviation.

        b.   Even if the parties, in good faith, cannot agree on all instructions,

 definitions or questions, the parties should nonetheless submit a single, unified

 charge. Each disputed instruction, definition, or question should be set out in bold

 type, underline or italics and identified as disputed. Each disputed item should be

 labeled to show which party is requesting the disputed language. For example, bold

 font could be used to signify that Plaintiff proposes and Defendant objects, italics

 that Defendant proposes and Plaintiff objects, etc. Accompanying each instruction

 that deviates from pattern charges shall be all authority or related materials upon

 which each party relies. The parties shall also submit a copy as an e-mail submission

 to propord_brasher@almd.uscourts.gov as a Microsoft Word document.

        c.   If the verdict form will include special interrogatories for the jury to

 answer, counsel shall include such special interrogatories with their proposed jury

 instructions.

 DONE and ORDERED this the 9th day of April, 2020.




                                         /s/ Andrew L. Brasher
                                    ANDREW L. BRASHER
                                    UNITED STATES DISTRICT JUDGE




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